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                                UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF NORTH CAROLINA
                                       CHARLOTTE DIVISION

 In re:
                                                               Chapter 11
           B GSE GROUP, LLC,
                                                               Case No. 23-30013
                               Debtor.

  CREDITOR JOHN BEAN TECHNOLOGIES CORPORATION’S MOTION FOR
  ENTRY OF ORDER FOR LIMITED RELIEF FROM THE AUTOMATIC STAY
TO FINALIZE LITIGATION PENDING IN THE UNITED STATE DISTRICT COURT
                     FOR THE DISTRICT OF UTAH

          Creditor John Bean Technologies Corporation (“JBT”), through its undersigned counsel,

files this Motion for Entry of an Order for Limited Relief From the Automatic Stay to Finalize

Litigation Pending in the United States District Court for the District of Utah (the “Motion”),

seeking entry of an Order, substantially in the form attached hereto as Exhibit A (the “Proposed

Order”), pursuant to 11 U.S.C. § 362(d) to complete briefing on post-trial motions that were

pending at the time of the bankruptcy filing and obtain rulings in the United States District Court

for the District of Utah, Central Division captioned John Bean Technologies Corporation v. B

GSE Group, LLC and Bryan Bullerdick, Case No. 1:17-cv-00142-RJS-DAO, (the “Federal Court

Lawsuit”). In support of the Motion, JBT respectfully states as follows:

                                      I.    JURISDICTION AND VENUE

          1.       The United States Bankruptcy Court for the Western District of North Carolina

(the “Court”) has jurisdiction to consider and determine this matter pursuant to 28 U.S.C. §§ 157

and 1334.

          2.       This is a core proceeding under 28 U.S.C. § 157(b)(2)(G).

          3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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         4.        The predicates for relief are, as applicable, 11 U.S.C. §§ 105 and 362, Rule 4001(d)

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rule 4001-1

of the Local Bankruptcy Rules for the Western District of North Carolina (the “Local Rules”).

                                      II.     RELEVANT BACKGROUND

         5.        On September 1, 2017, JBT filed its Complaint in the Federal Court Lawsuit

against Bryan Bullerdick (“Bullerdick”) and B GSE Group, LLC (“B GSE”) (the “District Court

Defendants”) alleging eight causes of action: (1) Federal Misappropriation of Trade Secrets

against both defendants (the “First Claim”), (2) State Misappropriation of Trade Secrets against

both defendants (the “Second Claim”), (3) Federal Unfair Competition and False Designation of

Origin against B GSE (the “Third Claim”), (4) Federal Unfair Competition and False Advertising

against B GSE (the “Fourth Claim”), (5) Federal Trademark Infringement against B GSE (the

“Fifth Claim”), (6) Breach of Contract against Bullerdick (the “Sixth Claim”), (7) Breach of

Contract against B GSE (the “Seventh Claim”), (8) Breach of Contract against B GSE (the “Eighth

Claim”). Federal Court Lawsuit Dkt. No. 2.

         6.        The District Court Defendants filed an Answer to JBT’s Complaint on September

27, 2017 and an Amended Answer on October 18, 2017 that added six counterclaims for: (1)

Declaratory        Judgement        (“First    Counterclaim”),   (2)   Tortious   Interference   (“Second

Counterclaim”), (3) Negligent Misrepresentation (“Third Counterclaim”), (4) Defamation

(“Fourth Counterclaim”), (5) Unfair or Deceptive Trade Practice (“Fifth Counterclaim”) and (6)

Utah Truth in Advertising Act (“Sixth Counterclaim”). Federal Court Lawsuit Dkt. Nos. 34 and

49.

         7.        On March 16, 2018, JBT filed an Amended Complaint asserting two new claims

for ten total claims; (9) Defamation against both defendants (the “Ninth Claim”), and (10) Tortious



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interference against both defendants (the “Tenth Claim”). Federal Court Lawsuit, Dkt. No. 99.

The District Court Defendants filed a new Answer on April 4, 2018 reasserting the same counter

claims. Federal Court Lawsuit, Dkt. No. 108.

         8.        On August 13, 2020, the Utah District Court granted JBT’s Motion for Summary

Judgment on its First, Second, Third, Sixth, Seventh, and Eighth claims. Federal Court Lawsuit,

Dkt. No. 184.        The Utah District Court also dismissed the District Court Defendants’ First and

Sixth Counterclaims, granted JBT’s Motion for Summary Judgment on the Second, Third, and

Fourth Counterclaims, and denied JBT’s Motion for Summary Judgment on the Fifth

Counterclaim. Id.

         9.        On September 26, 2022, the Utah District Court held a jury trial that proceeded for

eight days until October 6, 2022.1 On October 6, 2022, the jury found the Utah District Court

Defendants liable on JBT’s First, Second, Third, Fifth, Sixth, Seventh and Eighth Claims and

awarded damages of $525,033. Federal Court Lawsuit, Dkt. No. 262. The jury also found the

Utah District Court Defendants acted with willful and/or malicious intent as to JBT’s First,

Second, Third and Eighth claims. Id. The jury also awarded $0 in damages to the District Court

Defendants on their remaining counterclaim. Id. Additionally, the jury awarded JBT $500,000

in punitive damages from B GSE and $100,000 in punitive damages from Mr. Bullerdick for their

tortious interference with prospective economic advantage claim. Federal Court Lawsuit Dkt. No.

263.

         10.       On November 1, 2022, the Utah District Court entered judgment on the jury’s

verdict. Federal Court Lawsuit, Dkt. No. 273. The Utah District Court entered the Judgment


1
  At trial, JBT’s claims were renumbered to account for the District Court Defendants winning their Motion for
Summary judgment on the Fourth and Ninth claims so the Fifth Claim become the Fourth claim, the Sixth Claim
became the Fifth Claim, the Seventh Claim became the Sixth Claim, the Eighth Claim became the Seventh Claim and
the Tenth Claim became the Eighth Claim. The original Fourth Claim was dropped at the start of the trial.

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against defendants B GSE and Bullerdick, jointly and severally, in the sum of $1,125,033 with

post-judgment interest and taxable costs as fixed by the court. Id. As noted, the Judgment

included $500,000 in punitive damages against B GSE and $100,000 in punitive damages against

Bryan Bullerdick, with post-judgment interest and taxable costs as fixed by the court. Id. The

Utah District Court also stated the Court may award to JBT attorney’s fees, non-taxable cots,

statutory enhanced damages, and pre-judgment interest upon separate application to the court. Id.

         11.       There are seven post-judgment motions pending, five of which are fully briefed

and under advisement with the Utah District Court and two of which are near-fully briefed. The

seven motions are:

                        a. JBT’s Motion for Award of Attorneys’ Fees and Nontaxable Expenses filed

                             on November 15, 2022. Federal Court Lawsuit, Dkt. No. 278. The District

                             Court Defendants filed their response on December 13, 2022. Federal

                             Court Lawsuit, Dkt. No. 299. JBT filed its reply on December 28, 2022

                             and the motion is now fully briefed and under consideration. Federal Court

                             Lawsuit, Dkt. No. 305.

                        b. JBT’s Bill of Costs filed on November 15. Federal Court Lawsuit, Dkt.

                             No. 276. The District Court Defendants filed their objections on December

                             13, 2022 and the motion is now fully briefed and under consideration.

                             Federal Court Lawsuit, Dkt. No. 298.

                        c. JBT’s Motion to Alter Judgment and Memorandum in Support to Enhance

                             Damages Award was filed on November 29, 2022. Federal Court Lawsuit,

                             Dkt. No. 285. The District Court Defendants filed their response on

                             December 27, 2022. Federal Court Lawsuit, Dkt. No. 300. JBT filed its



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                             reply on January 10, 2023 and the motion is now fully briefed and under

                             consideration. Federal Court Lawsuit, Dkt. No. 312.

                        d. Defendants’ Motion for Judgment as a Matter of Law and Memorandum in

                             Support Pursuant to Rule 50(b) and, in the alternative, for a New Trial or

                             to Alter or Amend the Judgment Pursuant to Rule 59 filed on November

                             29, 2022. Federal Court Lawsuit, Dkt. No. 284. JBT filed its response on

                             December 27, 2022. Federal Court Lawsuit, Dkt. No. 303. Bullerdick filed

                             his reply on January 10, 2023, and the motion is now fully briefed and

                             under consideration. Federal Court Lawsuit, Dkt. No. 311.

                        e. JBT’s Motion for Pre-judgment and Post-judgment Interest was filed on

                             November 29, 2022. Federal Court Lawsuit, Dkt. No. 286. The District

                             Court Defendants filed their response on December 27, 2022. Federal

                             Court Lawsuit, Dkt. No. 301. JBT filed its reply on January 10, 2023, and

                             the motion is fully briefed and under consideration. Federal Court Lawsuit,

                             Dkt. No. 313.

                        f. The District Court Defendants’ Motion to Dispense with Supersedeas Bond

                             and Stay Execution or Reduce Bond was filed on December 1, 2022.

                             Federal Court Lawsuit, Dkt. No. 290. JBT filed its response on December

                             29, 2022. Federal Court Lawsuit, Dkt. No. 306. The District Court

                             Defendants’ reply is due January 12, 2023.

                        g. JBT’s Motion for Leave to Register Judgment in Other Districts filed on

                             December 6, 2022. Federal Court Lawsuit, Dkt. No. 295. The District




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                             Court Defendants filed their response on January 3, 2023. Federal Court

                             Lawsuit, Dkt. No. 307. JBT’s reply is due January 17, 2023.

         12.       On January 6, 2023 (the “Petition Date”), the Debtor filed its voluntary petition in

this Court for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”). The Debtor elected to proceed as a small business debtor under subchapter V of chapter

11 of the Bankruptcy Code pursuant to section 1182. As of the date of filing this Motion, neither

a trustee, an examiner, nor an official committee have been appointed in this chapter 11 case (the

“Case”). A subchapter V trustee was appointed for this case.

         13.       On January 9, 2023, the Debtor filed its notice of bankruptcy in the Federal Court

Lawsuit.

         14.       On January 10, 2023, JBT filed reply briefs to its Motion to Alter Judgment and

Memorandum in Support to Enhance Damages Award and its Motion for Pre-judgment and Post-

Judgment Interest. Federal Court Lawsuit, Dkt. Nos. 312 and 313. Each reply brief was drafted

with the intent that it reply to the Debtor’s and Bullerdick’s responses. Because the replies were

filed after the petition date, JBT noted that the replies were filed only as to the non-debtor

defendant to avoid violating the automatic stay. Id. at n.1.

         15.       On January 10, 2023, Bullerdick filed his reply brief to the defendants’ Motion for

Judgment as a Matter of Law and Memorandum in Support Pursuant to Rule 50(b) and, in the

alternative, for a New Trial or to Alter or Amend the Judgment Pursuant to Rule 59. Federal

Court Lawsuit, Dkt. No. 311. The reply brief was drafted with the intent to reply on behalf of

both defendants. Since it was filed after the Petition Date, the Defendants noted that the reply

was on behalf of Bullerdick but was intended to apply to the Debtor to the extent not prohibited

under the Bankruptcy Code. Id. at n.1.



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                                           III.   RELIEF REQUESTED

          16.      By this Motion, JBT seeks relief from the automatic stay to permit it to complete

the near-complete briefing in the Federal Court Lawsuit and to permit the court in the Federal

Court Lawsuit to issue rulings on pending motions five of which are fully briefed and two of

which are near-fully briefed. The Federal Court Lawsuit has been pending since September 2017,

and JBT believes that the Federal Court Lawsuit will be best and most efficiently adjudicated in

the United States District Court for the District of Utah, Central Division before Chief Judge

Robert Shelby. This is so because the case is post-trial, a judgment has been issued, and the only

remaining task for the court in the Federal Court Lawsuit is to issue orders on seven pending post-

trial motions. JBT is not asking for authority from Chief Judge Shelby for authority to execute

on any judgment, but rather, merely for the authority to complete briefing and obtain rulings,

which would fully liquidate the claims of JBT to aid in the administration of the bankruptcy case.

Accordingly, for these reasons and the reasons set forth below, it is in the best interest of the

Debtor, its estate, and its creditors, and good cause exists for this Court to grant the relief requested

herein.

                                   IV.     ARGUMENT AND AUTHORITY

          17.      Title 11 of the United States Code provides that a bankruptcy petition operates as

a stay on the continuation of a judicial proceeding against a debtor to collect or recover a claim

that arose before the commencement of a case. See 11 U.S.C. § 362(a)(1),(6). “The automatic

stay gives the bankruptcy court an opportunity to harmonize the interests of both the debtor and

creditors while preserving the debtor’s assets for repayment and reorganization of his or her

obligations.” In re Robbins, 964 F.2d 342, 345 (4th Cir. 1992); see Brown v. Chesnut (In re

Chesnut), 422 F.3d 298, 301 (5th Cir. 2005); McMillan v. MBank Fort Worth, N.A., 4 F.3d 362,



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366 (citing GATX Aircraft Corp. v. M/V Courtney Leigh, 768 F.2d 711, 716 (5th Cir. 1985)).

Stated differently, “[t]he automatic stay is intended to benefit creditors collectively by preventing

individual creditors from acting unilaterally to the detriment of other creditors.” In re Mid-City

Parking, Inc., 332 B.R. 798, 815 (Bankr. N.D. Ill. 2005); see also Chesnut, 422 F.3d at 301.

         18.       A bankruptcy court may terminate, annul, lift, or condition the automatic stay. See

11 U.S.C. § 362(d); see also In re Robbins, 964 F.2d at 345; Lee v. Anasti (In re Lee), 461 Fed.

Appx. 227, 231 (4th Cir. 2012). After notice and a hearing, a bankruptcy court shall grant relief

to a party in interest from the automatic stay for cause. See 11 U.S.C. § 362(d)(1). Although

“cause” is not defined, courts have considered numerous factors in determining if a request for

relief from the automatic stay is appropriate. See In re Laventhol & Horwrath, 139 B.R. 109, 116

(S.D.N.Y. 1992) (citation omitted).

         19.       The Fourth Circuit has addressed the test to be considered by a bankruptcy court

in determining whether “cause” exists to lift the automatic stay so as to allow litigation to proceed

or continue to proceed in another forum. See In re Robbins, 964 F.2d at 345. The Robbins case

instructs that,

         The court must balance potential prejudice to the bankruptcy debtor's estate against the
         hardships that will be incurred by the person seeking relief from the automatic stay if relief
         is denied . . . . The factors that courts consider in deciding whether to lift the automatic
         stay include (1) whether the issues in the pending litigation involve only state law, so the
         expertise of the bankruptcy court is unnecessary; (2) whether modifying the stay will
         promote judicial economy and whether there would be greater interference with the
         bankruptcy case if the stay were not lifted because matters would have to be litigated in
         bankruptcy court; and (3) whether the estate can be protected properly by a requirement
         that creditors seek enforcement of any judgment through the bankruptcy court.

Id.

         20.       For the reasons set forth below, the Robbins factors weigh in favor of lifting the

automatic stay on a limited basis with respect to the Federal Court Lawsuit.



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         A.        Modifying the Stay Promotes the Judicial Economy and will Aid in Resolving
                   this Case

         21.       Here, modifying the stay promotes judicial economy. The Federal Court Lawsuit

is post-trial. The court in the Federal Court Lawsuit has entered a judgment on the verdict. All

that remains in the Federal Court Lawsuit is the completion of briefing on post-trial motions, the

vast majority of the briefing on those post-judgment motions is complete and to the extent that the

balance of briefing is not complete, filing was (1) withheld to avoid violating the automatic stay

or (2) is not yet due but is materially complete.

         22.       Lifting the stay will aid the Court rather than interfere with it. The Federal Court

Lawsuit is near completion. Obtaining orders on the remaining motions will fully liquidate JBT’s

claim(s) against the Debtor’s estate. The progress of this Case depends on the determination of

the amounts of the claims JBT possesses against the Debtor, which can readily be decided by

Chief Judge Shelby. See In re Taub, 438 B.R. 39, 46 (Bankr. E.D.N.Y. 2010). A court with over

five years of exposure to JBT’s claims – and which presided over the parties’ trial on the merits –

can quickly liquidate them. This will prevent the need for this Court to expend scarce judicial

resources re-inventing the wheel.

         23.       The continuance of the automatic stay with regard to the Federal Court Lawsuit

will result in time-consuming, duplicative and expensive litigation in this Case on issues that are

poised for adjudication by the Utah District Court. Resolution of the Federal Court Lawsuit will

expedite and facilitate the administration of the Debtor’s claims. Moreover, no potential harm to

other creditors will result by lifting the stay and allowing the Federal Court Lawsuit to proceed,

as relief may be limited so that this Court retains exclusive jurisdiction with regard to enforcement

of any judgment obtained against the Debtor.




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         24.       The Debtor will incur less administrative expense by resolving JBT’s claims in the

District of Utah. First, the Debtor and Bullerdick are represented by the same counsel. That

counsel has filed briefing on behalf of the Debtor and Bullerdick throughout the post-judgment

proceedings and purports to do the same since the commencement of this Case provided they do

not violate the Bankruptcy Code. Second, the Debtor and Bullerdick’s defense costs are being

paid by insurance.

         25.       The Debtor elected to proceed as a small business debtor under subchapter V of

chapter 11 of the Bankruptcy Code. Subchapter V imposes material deadlines on the Debtor that

are short and rigid. The Utah District Court can readily resolve JBT’s outstanding claims against

the Debtor and provide the Debtor with the tools to satisfy the statutorily abbreviated deadlines

imposed by subchapter V. Therefore, modification of the stay will support the judicial economy

and aid this Court in resolving the Debtor’s Case.

         B.        The Issues Pending are Before the Best-Equipped Forum

         26.       The first Robbins factor weighs in favor of lifting the stay. The claims and causes

of action in the Federal Court Lawsuit are, admittedly, a mixture of state and federal claims. But

resolution in this Court is not necessary. The court in the Federal Court Lawsuit is intimately

familiar with the case. Chief Judge Shelby of the United States District Court for the District of

Utah has presided over the Federal Court Lawsuit since September 5, 2017. Federal Court

Lawsuit, Dkt. No. 10. Chief Judge Shelby ruled on voluminous pretrial motions, presided over a

two week jury trial, and entered a judgment in this case. The claims that were tried to judgment

include the First, Second, Third, Fifth, Sixth, Seventh and Eighth Claims. The court that presided

over their trial and entered judgment on the verdict has the most extensive knowledge about the

matter and is the best resource for resolving outstanding issues. Modification of the stay will



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allow the forum most experienced with the law and facts of the Federal Court Lawsuit to resolve

the few remaining issues.

         C.        JBT Does Not Seek Permission to Enforce a Judgment

         27.       The third Robbins factor weighs in favor of lifting the stay. JBT does not seek

modification of the stay to permit it to seek enforcement of any judgment and has not requested

such relief. JBT suggests that this Court can enter an order modifying the stay simply to allow

the parties in the Federal Court Lawsuit to complete and file briefing regarding pending motions

as to all parties and allow Chief Judge Shelby to rule on such motions. To the extent JBT seeks

enforcement of any judgment against the Debtor, it will do so in this Court.

         28.       JBT’s prior efforts in the Federal Court Lawsuit should not have been in vain,

particularly when Chief Judge Shelby can effectuate a quicker and more efficient resolution. For

the above reasons, this Court should lift the automatic stay with respect to the Federal Court

Lawsuit.

       V.      WAIVER OF RULE 4001(A)(3) STAY OF EFFECTIVENESS OF ORDER

         29.       JBT respectfully requests that the Court waive the stay imposed by Bankruptcy

Rule 4001(a)(3) so that the order on this Motion is effective immediately. Such waiver will allow

the parties and the Utah District Court, to proceed immediately with all matters pending in the

Federal Court Lawsuit, promoting a just and efficient resolution of the litigation.

                                                 VI.   NOTICE

         30.       Notice of this Motion has been given to: (a) the Debtor; (b) counsel for the Debtor;

(c) the Office of the Bankruptcy Administrator for the Western District of North Carolina; (d); the

Subchapter V Trustee appointed in this case; and (e) all parties requesting notice pursuant to




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Bankruptcy Rule 2002. JBT respectfully submits that, in light of the nature of the relief requested

herein, no further notice is necessary or required.

                                                VII.    PRAYER

         WHEREFORE, JBT respectfully requests that this Court enter an order substantially in

the form of the Proposed Order, lifting the automatic stay on a limited basis for the Federal Court

Lawsuit to proceed before Chief Judge Shelby in the District of Utah. JBT further requests such

other and further relief to which JBT may be justly entitled.


Dated: January 13, 2023
       Charlotte, North Carolina
                                                       HAMILTON STEPHENS
                                                       STEELE + MARTIN, PLLC

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                                                       and



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